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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Jamal Samaha, Lauren Coleman, Jordan            Case No. 20-cv-01715-KMM-DTS
Meyer, Andy Delany, Mary Grace, Bonnie
Brown, and Jonathan Mason, individually
and on behalf of all others similarly
situated,                                       STATEMENT OF
                                                CONFIDENTIALITY
                            Plaintiffs,

v.

The City of Minneapolis; Minneapolis
Police Lieutenant Robert Kroll, in his
individual capacity; Major Joseph Dwyer,
in his individual capacity; Officer
Samantha Belcourt, in her individual
capacity; Officer George Peltz, in his
individual capacity; Officer Sergio
Villegas, in his individual capacity; Officer
Toua Yang, in his individual capacity; and
John Does 1-100, in their official and
individual capacities,

                            Defendants.


Nekima Levy Armstrong, Marques                  Case No. 20-cv-01645-KMM-DTS
Armstrong,Terry Hempfling, Rachel Clark,
and Max Fraden, on behalf of themselves
and other similarly situated individuals,

                            Plaintiffs,

v.

City of Minneapolis; Minneapolis Chief of
Police Medaria Arradondo, in his official
capacity; Minneapolis Police Lieutenant
Robert Kroll, in his individual and official
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 capacity; and John Does 1-2, in their
 official and individual capacities,

                             Defendants.


       The parties in the above-captioned actions have filed their Stipulation for

Injunction, Exhibit A, Memorandum of Law in Support of their Stipulation for

Injunction, and Proposed Order for Injunction under seal. Pursuant to the agreement of

the parties, these documents have been designated as “Confidential” in their entirety.

The parties further agree to unseal these documents if the Injunction is approved.


Dated: November 9, 2022                  By: /s/ Joshua J. Rissman
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                                             Joshua J. Rissman (#391500)
                                             Frances Mahoney-Mosedale (#0402741)
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                                             Coleman, Meyer, Delany, Grace, Brown,
                                             and Mason




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